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                                   EXHIBIT A

                             Proposed Form of Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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In re:                                                                   Chapter 11

REMINGTON QUTDOOR COMPANY,INC., et                                       Case No. 18-10684(~
al.,l


                                    Debtors.                             (Joint Administration Requested)
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                           ORDER AUTHORIZING DEBTQRS TO FILE
                         (I) CONSOLIDATED LIST OF CREDITORS AND
                   (II) CONSOLIDATED LIST OF TOP THIRTY CREDITORS

         Upon consideration of the motion (the "Motion")2 of the above-captioned debtors and

debtors-in-possession (collectively, the "Debtors") seeking entry of an order (this "Order")

pursuant to sections 341, 105(a) and 521 of the Bankruptcy Code, Section 156(c), rule 1007 of

the Bankruptcy Rules, and rules 1Q01 1(c), 1007-2, 2002-1, and 9013-1(m) of the of the Lpcal

Rules, (i) authorizing the Debtors to file a consolidated list of creditors, (ii) authorizing the

Debtors to file a consolidated list of the Debtors' thirty (30) largest unsecured creditors, and

(iii) granting certain related relief, all as more fully set forth in the Motion; ar~d upon

consideration of the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter an Interim order


'    The Debtors in.these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899);
     FGI Operating Company, LLC (9774); Remington Arms Company, LLC (Q935); Barnes Bullets, LLC (8510);
     TMRI, Inc. (3522); RA Brands, L.L.G. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution
     Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors
     Haldco, LLC (7744); and Outdoor Services, LLC (2405). The principal offices of Debtor Remington qutdoor
     Company, Inc., the top-level holding company, are located at 870 Remington Drive, Madison, NC 27025.
2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the Debtors' notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the "Hearing"); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.         The Motion is granted as set forth herein.

        2.         The Debtors are authorized to file a consolidated list of creditors.          The

requirements of Local Rule 1007-2(a) and Local Rule 2002-1(~(v)that separate mailing matrices

be submitted for each Debtor are permanently waived, and the Debtors are authorized to submit a

consolidated list of creditors; pNovided, however, that if any of these Chapter 11 Cases converts

to a case under chapter 7 of the Bankruptcy Code, the applicable Debtor shall file its

individualized creditor mailing matrix.

        3.         The Debtors are authorized to file a consolidated list of their thirty (30) largest

unsecured creditors.

        4.         The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Motion.




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         5.       The Court retains jurisdiction with respect to all matters arising from or relating to

the implementation, interpretation, and enforcement ofthis Order.




Dated:        Wilmington, Delaware
                             2018


                                                  UNITED STATES BANKRUPTCY JUDGE




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